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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                               CASE NO. 16-62540-CIV-DIMITROULEAS
 DESTANY ANDERSON,


        Plaintiff,
 v.


 RADIOLOGY CONSULTANTS OF
 HOLLYWOOD, INC., a Florida corporation,
 PINES RADIOLOGY CENTER, INC., a
 Florida corporation, QUALCARE MEDICAL
 GROUP, LLC, a Florida limited liability
 company, and MARK GRNJA, an individual.

       Defendants.
 _____________________________________/

                                NOTICE TO PARTIES IN FLSA CASES

        On October 5, 2017, Plaintiff filed this action, alleging that Defendant violated the Fair

 Labor Standards Act (“FLSA”), 29 U.S.C. ' 201 et seq. See [DE 1]. The Court deems it advisable

 to inform the parties of this Court’s policies and procedures in FLSA cases.

        1. Any settlement, bargain, or other compromise resolving an FLSA claim must either be

 presented to the Secretary of Labor or scrutinized by the district court for fairness. Lynn=s Food

 Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). In considering settlement

 of an FLSA claim, the Court is to determine whether the settlement is a Afair and reasonable

 resolution of a bona fide dispute@ of the FLSA issues. Lynn's Food Stores, 679 F.2d at 1354B55.

        2. Ordinarily, a district court has no discretion to deny a plaintiff=s right to dismiss under

 Federal Rule of Civil Procedure 41(a)(1), nor may the court attach any conditions to that right.

 See Williams v. Ezell, 531 F.2d 1261, 1263-64 (5th Cir. 1976).1 However, this Court adopts the


        1
            The Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit issued prior to
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 position that the principles articulated in Lynn=s Food create an exception to Rule 41(a)(1). See,

 e.g. Perez-Nunez v. N. Broward Hosp. Dist., 609 F. Supp. 2d 1319, 1319-21 (S.D. Fla. 2009)

 (“This Court rejects Defendant=s position that a court need not approve the terms under which a

 plaintiff may dismiss an FLSA claim with prejudice.”).

         3. Accordingly, any voluntary dismissal or stipulation of dismissal will require the parties

 to submit a settlement agreement for judicial review and approval. Further, the Court finds that in

 order to effectuate the Eleventh Circuit=s requirement dictated by Lynn=s Food, even dismissals

 without prejudice require the Court to review any settlement agreement that has been reached by

 the parties. See Lynn=s Food, 679 F.2d at 1352 (ACongress made the FLSA=s provisions

 mandatory; thus, the provisions are not subject to negotiation or bargaining between employers

 and employees.@).

         4. The Court recognizes that there may be situations in which the plaintiff chooses to

 voluntarily dismiss the case, even if there has been no settlement or compromise.

                  (1)      In that event, the court will require the notice of voluntary dismissal to
                           affirmatively state that (a) no settlement agreement has been reached, and
                           (b) the plaintiff has voluntarily chosen to abandon the FLSA claims at this
                           time.

                  (2)      The Court will construe such a dismissal to be without prejudice, regardless
                           of the language used in the notice. Plaintiff will be able to re-file or
                           otherwise pursue the claim in the future, subject to the statute of limitations.




 October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981).
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         5. Settlement agreements may not be filed under seal, unless there are extraordinary

 circumstances. See Brown v. Advantage Eng=g Inc., 960 F.2d 1013, 1016 (11th Cir. 1992) (AOnce

 a matter is brought before a court for resolution, it is no longer solely the parties= case, but also the

 public=s case. Absent a showing of extraordinary circumstances . . . the court file must remain

 accessible to the public.@). The Court emphasizes that any circumstance to file under seal must be

 truly extraordinary to justify keeping the agreement from the public court file. As a result, the

 Court is unlikely to grant motions to file FLSA settlement agreements under seal.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

 10th day of October, 2017.




 Copies furnished to:

 Counsel of record
